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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                    Case No.: 9:16-cv-81798-DMM



   TTT Foods Holding Company LLC,
   a Florida limited liability company,

                  Plaintiff,
   v.

   BEATRICE NAMM, an individual,
   JONATHAN NAMM, an individual,
   and DELUXE GOURMET
   SPECIALTIES LLC, a New Jersey                        TRIAL BY JURY DEMANDED
   limited liability company,

               Defendants.
   _________________________________/

                 SECOND AMENDED ANSWER, AFFIRMATIVE DEFENSES

          COME NOW the Defendants, BEATRICE NAMM, an individual, JONATHAN NAMM,

   an individual, and DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited liability

   company, by and through the undersigned attorneys, and file this their Answer and Affirmative

   Defenses, and state in support thereof as follows:

                                               ANSWER

                  1.      All allegations in the Amended Complaint are denied unless specifically

   admitted herein.

                  2.      The allegations contained in Paragraphs 1-6, 10, 20, 21, 26, 39 and 117 of

   the Amended Complaint are admitted.

                  3.      As to Paragraph 13 and 14, admit that on January 2, 2015, Defendant


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   BEATRICE NAMM sued Jeffrey Brandon and Eric Scholer for breach of contract, otherwise

   deny the remaining allegations.

                  4.        As to Paragraph 15, Exhibit “A” speaks for itself; otherwise deny the

   remaining allegations.

                  5.        As to Paragraph 16, admit that a lawsuit was filed, otherwise deny the

   remaining allegations; the Answer, Affirmative Defenses and Counterclaims to the complaint

   filed by Plaintiff is attached hereto as Exhibit “A”.

                  6.        As to Paragraph 17, Exhibit “B” speaks for itself; otherwise deny the

   remaining allegations.

                  7.        As to Paragraph 18, Exhibit “C” speaks for itself; otherwise deny the

   remaining allegations.

                  8.        As to Paragraph 19, Exhibit “D” speaks for itself; otherwise deny the

   remaining allegations.

                  9.        As to Paragraph 22, Exhibit “E” speaks for itself; otherwise deny the

   remaining allegations.

                  10.       As to Paragraph 23, Exhibit “F” speaks for itself; otherwise deny the

   remaining allegations.

                  11.       As to Paragraph 24, Exhibit “G” speaks for itself; otherwise deny the

   remaining allegations.

                  12.       As to Paragraph 29, the order referred to was obtained without notice to

   Defendant BEATRICE NAMM that she would be the subject matter of that order, as articulated

   in detail in the Motion to Set Aside Order Entered on August 16, 2016 and Motion for Attorney

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   Fees and Costs attached hereto and incorporated herein as Exhibit “B”.

                                     AFFIRMATIVE DEFENSES

                  13.     1st Affirmative Defense: The transfers are not voidable, and Defendants

   are not liable, because they were made in the ordinary course of business or financial affairs of

   Bea’s Brooklyn’s Best LLC and/or more of the Defendants.

                  14.     2nd Affirmative Defense: The transfers are not voidable, and Defendants

   are not liable, because Bea’s Brooklyn’s Best LLC received a reasonably equivalent value in

   exchange for the alleged transfers.

                  15.     3rd Affirmative Defense: The transfers are not voidable under

   §726.105(1)(a), Florida Statutes (2016), as to Defendants or others who took in good faith and

   for a reasonably equivalent value, or against any subsequent transferee or obligee.

                  16.     4th Affirmative Defense: The transfers were made without an actual

   intent to hinder, delay or defraud Plaintiff, but instead in good faith and/or in the exercise of good

   business judgment.

                  17.     5th Affirmative Defense: The transfers are not voidable under

   §726.106(2), Florida Statutes (2016), to the extent Defendants gave new value to or for the

   benefit of Bea’s Brooklyn’s Best LLC after or before the transfers were made.

                  18.     6th Affirmative Defense: The transfers are not voidable under

   §726.106(2), Florida Statutes (2016), because they were made in the ordinary course of business

   or financial affairs of Bea’s Brooklyn’s Best LLC and/or Defendants.

                  19.     7th Affirmative Defense: The transfers are not voidable under

   §726.106(2), Florida Statutes (2016), because they were made pursuant to a good faith effort to

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   rehabilitate Bea’s Brooklyn’s Best LLC, and/or the transfers secured present value given for that

   purpose and/or an antecedent debt of Bea’s Brooklyn’s Best LLC.

                   20.     8th Affirmative Defense: Notwithstanding voidability of a transfer or an

   obligation under §§726.101-726.112, Florida Statutes (2016), Defendants, as good faith

   transferees, are entitled, to the extent of the value given Bea’s Brooklyn’s Best LLC for the

   transfers, to: (a) a lien on or a right to retain any interest in the asset transferred; (b) enforcement

   of any obligation incurred; and/or © a reduction in the amount of the liability on the judgment.

                   21.     9th Affirmative Defense: Defendants are entitled, to the extent of the

   value given Bea’s Brooklyn’s Best LLC for the transfers, to a set off of said value from any

   award to Plaintiff, if any.

                   22.     10th Affirmative Defense. Plaintiff has no standing to bring Count V.

                   23.     11th Affirmative Defense: Bea’s Brooklyn’s Best LLC and/or Defendant

   BEATRICE NAMM are not liable to Plaintiff for having exercised their business judgment in the

   operation of Bea’s Brooklyn’s Best LLC’s business, including it dissolution or winding down.

                   24.     12th Affirmative Defense: Brooklyn’s Best LLC was not created or used

   in order to mislead or defraud Plaintiff, and its corporate veil should not be pierced nor should

   Defendant BEATRICE NAMM be found to be its alter ego. Brooklyn’s Best LLC was initially

   organized, established, operated and controlled by Plaintiff. It was only later that Plaintiff

   relinquished control to Defendant BEATRICE NAMM in exchange for the promissory notes to

   be paid exclusively by Brooklyn’s Best LLC. Plaintiff knowingly and intentionally, with the

   assistance and advice of its attorneys, did not have Defendant BEATRICE NAMM sign or

   guarantee the promissory notes, but instead knowingly and intentionally accepted the risks and

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   consequences of Brooklyn’s Best LLC not repaying the said notes. Plaintiff is now seeking to

   have Defendant BEATRICE NAMM liable for the promissory notes undertaken by Brooklyn’s

   Best LLC, under the pretense that somehow they were deceived. The reality of the matter is that

   Plaintiff entered into the contractual relationship created by the promissory notes knowing

   everything there was to know about the operation of Brooklyn’s Best LLC, Defendant

   BEATRICE NAMM and Defendant DELUXE GOURMET SPECIALTIES LLC, and it was fully

   informed and not misled. Plaintiff are now seeking to obtain what they could not, and did not,

   obtain through negotiations, to wit: to hold Defendant BEATRICE NAMM personally liable for

   the promissory notes.

                  25.      13th Affirmative Defense: Counts I through IV attempt to allege a

   fraudulent conveyance action against both Defendant BEATRICE NAMM and Defendant

   JONATHAN NAMM premised on §§726.105 and 726.106, Florida Statutes (2016), and seek to

   hold both defendants jointly and severally liable. Counts I through IV fail to state a cause of

   action to establish joint and several liability. A fraudulent conveyance action is against a

   transferee directed against a particular transaction, which, if declared fraudulent, is set aside thus

   leaving the creditor free to pursue the asset, or it is an action against a transferee who has

   received an asset by means of a fraudulent conveyance and should be required to either return the

   asset or pay for the asset. There is no basis for joint and several liability under §§726.105 or

   726.106, Florida Statutes (2016).

                  26.      14th Affirmative Defense: Count V attempts to allege a violation of

   fiduciary duty by Defendant BEATRICE NAMM. Under Florida law, "[t]o establish a fiduciary

   relationship, a party must allege some degree of dependency on one side and some degree of

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   undertaking on the other side to advise, counsel, and protect the weaker party." Taylor Woodrow

   Homes Florida, Inc. V. 4/46-A Corp., 850 So. 2d 536, 540-41 (Fla. 5th Dist. Ct. App. 2003)

   (quoting Watkins v. NCNB Nat'l Bank of Fla., NA, 622 So. 2d 1063, 1065 (Fla. 3d Dist. Ct. App.

   2003)); accord Lanz v. Resolution Trust Corp., 764 F.Supp. 176, 179 (S.D. Fla. 1991), and

   Bankest Imports, Inc. v. Isca Corp., 717 F. Supp. 1537, 1541 (S.D. Fla. 1989). "When the parties

   are dealing at arm's length, a fiduciary relationship does not exist because there is no duty

   imposed on either party to protect or benefit the other." Id.; accord Maxwell v. First United Bank,

   782 So. 2d 931, 934 (Fla. 4th Dist. Ct. App. 2001). In the usual creditor-debtor relationship a

   fiduciary duty does not arise. See Barnett Bank of West Florida v. Hooper, 498 So. 2d 923, 925

   (Fla. 1986). To establish a fiduciary relationship, a party must allege some degree of dependency

   on one side and some degree of undertaking on the other side to advise, counsel and protect the

   weaker party. Brigham v. Brigham, 11 So. 3d 374, 387 (Fla. 3rd DCA 2009); Watkins v. NCNB

   Nat'l Bank of Fla., N.A., 622 So. 2d 1063, 1065 (Fla. 3d DCA 1993); Lanz v. Resolution Trust

   Corp., 764 F. Supp. at 179. Count V fails to state a cause of action for violation of a fiduciary

   duty. There is no allegation in Count V of ultimate facts to support a cause of action for a

   violation of fiduciary duty. There is no allegation of any undertaking by Defendant BEATRICE

   NAMM to advise, counsel and protect Plaintiff, and there is no allegation of any reliance by

   Plaintiff, nor could such allegations be made in good faith. Furthermore, there is no “duty of

   loyalty”, “duty of care” or “duty to act in good faith [or] in the best interest of” owed to Plaintiff

   by Defendant BEATRICE NAMM and Count V should be dismissed.

                  27.     15th Affirmative Defense: Plaintiff has failed to joint a non-diverse

   indispensable required party, to wit: Bea’s Brooklyn’s Best LLC. In the Amended Complaint,

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   Plaintiff claims: that Bea’s Brooklyn’s Best LLC made certain transfers that were fraudulent (i.e.,

   Counts I-IV); that Bea’s Brooklyn’s Best LLC owed Plaintiff certain fiduciary duties and that

   those duties were breached by Defendant BEATRICE NAMM in her corporate capacity as

   manager Bea’s Brooklyn’s Best LLC (i.e., Count V); and that Defendant BEATRICE NAMM is

   either the alter ego of Bea’s Brooklyn’s Best LLC or that the corporate veil of Bea’s Brooklyn’s

   Best LLC should be pierced (i.e., Count VII). Bea’s Brooklyn’s Best LLC is a required and

   indispensable party to this action and this Court should dismiss this action.

                  28.     16th Affirmative Defense: Florida law follows the "American Rule" that

   attorney's fees may only be awarded by a court pursuant to an entitling statute or an agreement of

   the parties. See Florida Patient's Compensation Fund v. Rowe, 472 So. 2d 1145, 1148 (Fla.

   1985), modified, Standard Guar. Ins. Co. v. Quanstrom, 555 So. 2d 828 (Fla. 1990). The request

   for attorney fees contained in Plaintiff’s pleading should be dismissed or stricken, and are barred

   under Florida law. There is no statute or contract between the parties allowing the recovery of

   attorney fees by Plaintiff against Defendants.

                  29.     17th Affirmative Defense: It would be inequitable to grant Plaintiff any

   relief. Defendant BEATRICE NAMM was producing and selling a barbecue sauce out of her

   home in 2006 in New Jersey. Plaintiff knew, at all times material hereto, that Defendant

   BEATRICE NAMM was an unsophisticated business person with very limited business

   experience and no training or schooling in business administration. Plaintiff took advantage of

   Defendant BEATRICE NAMM’s lack of experience and knowledge to acquired a 50%

   ownership of her barbecue sauce, while giving itself total control. Bea’s Brooklyn’s Best LLC

   was organized and established by Plaintiff in 2012 so that Plaintiff could acquire that 50%

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   ownership interest in Defendant BEATRICE NAMM’s barbecue sauce. Even though the

   ownership interest in Bea’s Brooklyn’s Best LLC was 50/50, Plaintiff took control of the entity

   by appointing two (2) of the three (3) managers, leaving Defendant BEATRICE NAMM as a

   manager in name only and without any control over Bea’s Brooklyn’s Best LLC or its operation.

   Bea’s Brooklyn’s Best LLC was operated and controlled by Plaintiff and its designated managers

   until March of 2015. Plaintiff and its designated managers had control of the operation of Bea’s

   Brooklyn’s Best LLC and, specifically, controlled all financial and operational aspects of Bea’s

   Brooklyn’s Best LLC, including, but not limited to, the way Bea’s Brooklyn’s Best LLC did

   business; the employees Bea’s Brooklyn’s Best LLC hired; the employment benefits provided by

   Bea’s Brooklyn’s Best LLC to its employees; the way Bea’s Brooklyn’s Best LLC dealt and

   interacted with and/or used Defendant DELUXE GOURMET SPECIALTIES LLC to collect and

   disburse monies owed to Bea’s Brooklyn’s Best LLC; selected and controlled the accountant and

   bookkeeper employed by Bea’s Brooklyn’s Best LLC; determined and implemented how Bea’s

   Brooklyn’s Best LLC’s financial records were to be kept; controlled Bea’s Brooklyn’s Best LLC

   tax returns; and controlled everything else involving, relating and/or regarding the operation of

   Bea’s Brooklyn’s Best LLC and Defendant DELUXE GOURMET SPECIALTIES LLC, at least

   from the date Bea’s Brooklyn’s Best LLC was organized up to and including the day Defendant

   BEATRICE NAMM became its sole member in 2015. During that time frame, Plaintiff

   employed Defendant BEATRICE NAMM and paid her, and/or was obligated to pay her,

   $150,000.00 a year; an amount that Plaintiff believed to be reasonable and fair for the work

   Defendant BEATRICE NAMM was doing during that time frame promoting the barbecue sauce.

   In January 2, 2015, Defendant BEATRICE NAMM sued two of the principles of Plaintiff (i.e.,

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   Jeffrey Brandon and Eric Scholer) for violating the Asset Purchase Agreement dated December

   11, 2012, which agreement resulted in the organizing of Bea’s Brooklyn’s Best LLC; attached

   hereto as Exhibit “C” is a copy of the complaint filed in that lawsuit. The essence of that lawsuit

   was that Plaintiff, and/or its principals, failed to pay Defendant BEATRICE NAMM the agreed

   amount of $150,000.00 a year, as agreed under the Asset Purchase Agreement. On or about

   March 27, 2015, as part of the settlement negotiations of the aforementioned lawsuit, Plaintiff

   relinquished control and ownership of Bea’s Brooklyn’s Best LLC to Defendant BEATRICE

   NAMM, in exchange for certain promissory notes to be paid exclusively by Brooklyn’s Best

   LLC. At that point, Defendant BEATRICE NAMM’s duties and responsibility increased to

   include all previous responsibilities undertaken by Plaintiff. There was no longer any division of

   labor and everything rested on the shoulders of Defendant BEATRICE NAMM. Any amount

   alleged to constitute a fraudulent conveyances does not exceed the reasonable compensation for

   the work done by Defendant BEATRICE NAMM, and any such amounts were paid to Defendant

   BEATRICE NAMM as earned compensation for her valuable service to Bea’s Brooklyn’s Best

   LLC. Plaintiff, at all times material thereto, was represented by a group of attorneys who drafted

   the promissory note, which group of attorneys included John Page and Bernice Lee, the two (2)

   attorneys representing Plaintiff in this case. Defendant BEATRICE NAMM did not sign or

   otherwise guarantee repayment of the promissory notes. Instead, Plaintiff agreed to accept the

   risks and consequences of Brooklyn’s Best LLC not repaying the said notes, and Plaintiff

   intentionally relinquished its ability to recover, in the event of a default, directly from Defendant

   BEATRICE NAMM. By May of 2015, less than two (2) months after the notes were signed,

   Plaintiff declared Bea’s Brooklyn’s Best LLC in default, accelerated all amounts owed, and filed

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   suit in State Court on the notes. This occurred less than two months after the notes were signed

   and was done in bad faith in order to harm Bea’s Brooklyn’s Best LLC and Defendant

   BEATRICE NAMM. Not only were the defaults declared by Plaintiff under the promissory

   notes premature, at least in part, but a representative of Bea’s Brooklyn’s Best LLC was in his car

   on his way to pay the entire alleged default amount owed (after being told by Plaintiff that

   Plaintiff would accept the funds to cure all defaults), when he was told by Plaintiff that the

   amount owed would not be accepted and he should not bother coming to Plaintiff’s office.

   Plaintiff knew, or should have known, that Bea’s Brooklyn’s Best LLC did not have the monies

   to pay the promissory notes in full. Plaintiff wanted to put Bea’s Brooklyn’s Best LLC out of

   business. Furthermore, on or about June 1, 2015, Plaintiff’s attorneys began contacting all

   customers of Bea’s Brooklyn’s Best LLC demanding that the customers make all future

   payments owed to Bea’s Brooklyn’s Best LLC directly to Plaintiff’s attorneys’ trust account,

   telling the customers that Bea’s Brooklyn’s Best LLC was in default under the notes; a copy of

   what was actually sent to Bea’s Brooklyn’s Best LLC’s customers is attached hereto and

   incorporated herein as Exhibit “D”. Plaintiff went so far as to include a copy of the promissory

   notes in its mailing to Bea’s Brooklyn’s Best LLC’s customers. Plaintiff and its attorneys had no

   right to contact Bea’s Brooklyn’s Best LLC’s customers, or interfere with Bea’s Brooklyn’s Best

   LLC’s contractual and/or business relationship with its customers. Plaintiff’s aforementioned

   conduct significantly interfered with the business relationship between Bea’s Brooklyn’s Best

   LLC and its customers, and directly affected Bea’s Brooklyn’s Best LLC’s ability to continue to

   operate or repay the amounts owed under Plaintiff’s promissory notes. It also resulted in the

   filing of a counterclaim by Bea’s Brooklyn’s Best LLC in the State Court proceedings, which

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   counterclaim is attached hereto and incorporated herein as Exhibit “E”. The result of Plaintiff’s

   aforementioned conduct was that (1) Bea’s Brooklyn’s Best LLC no longer does business and (2)

   that Bea’s Brooklyn’s Best LLC’s only and exclusive product, a barbecue sauce sold mainly in

   Costco, Sams and Walmart, is no longer sold anywhere, by anyone. Now Plaintiff wants to hold

   Defendant BEATRICE NAMM personally liable for the promissory notes, even though Plaintiff

   entered into the contractual relationship created by the promissory notes knowing everything

   there was to know about the operation and financial position of Brooklyn’s Best LLC, Defendant

   BEATRICE NAMM and Defendant DELUXE GOURMET SPECIALTIES LLC, and being, at

   all times material hereto, fully informed and never having been misled by Defendants. Plaintiff

   now seeks, inequitably and in bad faith, with unclean hands and in violation of the principal that

   he who seeks equity should do equity, to hold Defendant BEATRICE NAMM liable for the notes

   she never guaranteed, after Plaintiff accelerated the notes less than two months after they were

   initially delivered and interfered with Bea’s Brooklyn’s Best LLC’s customers and business

   operations, which resulted in Bea’s Brooklyn’s Best LLC permanently going out of business.

   Plaintiff now seeks to obtain what it could not, and did not, obtain through negotiations, to wit:

   to hold Defendant BEATRICE NAMM personally liable for the promissory notes that she never

   agreed to repay, after intentionally, maliciously and/or in bad faith putting Bea’s Brooklyn’s Best

   LLC permanently out of business. It would also be inequitable, in bad faith and/or

   unconscionable to classify as a fraudulent conveyances amounts paid to Defendant BEATRICE

   NAMM as compensation for value given to Bea’s Brooklyn’s Best LLC, which value was

   reasonable and/or agreed to by Plaintiff.

                  30.     18th Affirmative Defense: For all the reasons articulated in 12th and 17th

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   Affirmative Defense, supra, Plaintiff unclean hand and should not be granted any relief.

                  31.     Defendants have retained the undersigned attorney and has agreed to pay

   him a reasonable fee for his services.

          WHEREFORE the Defendants request that this Court deny Plaintiff all relief requested

   and award Defendants their incurred attorney fees and costs, if allowable.

          Trial by jury demanded as to all issues so triable.

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice
   of electronic filing via CM/ECF to John E. Page, counsel for Plaintiff (jpage@sflp.law) and
   Bernice C. Lee, counsel for Plaintiff (blee@sflp.law), and to those other parties registered to
   receive such service on February 2, 2017.
                                                        /s/ Agustin R. Benitez
                                                        AGUSTIN R. BENITEZ, ESQUIRE
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